                         UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
In The Matter of:                                   Chapter 7
                                                    18-56313-MAR
Milton Dogan, Jr. and Janise E Krisel-Dogan         Judge Randon

Debtor(s)
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    ORDER GRANTING RELIEF FROM AUTOMATIC STAY & WAIVING THE
 PROVISIONS OF F.R.B.P.4001(a)(3) AS TO THE BANK OF NEW YORK MELLON
 F/K/A THE BANK OF NEW YORK AS TRUSTEE FOR BELLAVISTA MORTGAGE
                     PASS-THROUGH TRUST 2004-1


       This matter having come before this Court on the Motion of THE BANK OF NEW
YORK MELLON F/K/A THE BANK OF NEW YORK AS TRUSTEE FOR BELLAVISTA
MORTGAGE PASS-THROUGH TRUST 2004-1 (“Creditor”), by and through its attorneys,
Schneiderman & Sherman, P.C., for relief from the Automatic Stay; all parties to said Motion
having been served with a copy of Creditor’s Motion and proposed Order:

        IT IS HEREBY ORDERED that the Automatic Stay is terminated to allow Creditor, its
successors or assigns to foreclose on the property known as 23280 Harding Street, Oak Park, MI
48237, for the reasons set forth in Creditor’s Motion; that Creditor is permitted to dispose of the
property in accordance with the terms of its note and security agreement and in accordance with
federal and state law; that F.R.B.P.4001(a)(3), is waived; that this order shall be served on the
Chapter 7 Trustee and all others with an interest in the subject property. This order shall be
binding and effective despite any conversion of this bankruptcy case to a case under any other
chapter of Title 11 of the United States Bankruptcy Code.

Signed on February 13, 2019




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